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                     IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re                                               Chapter 7

    ARMSTRONG FLOORING, INC., et al.1                   Case No. 22-10426 (MFW)

                    Debtors.


                    NOTICE OF WITHDRAWAL OF APPEARANCE
                AND REQUEST TO BE REMOVED FROM SERVICE LISTS

            PLEASE TAKE NOTICE that Jinhee Kim, Yong Ik Lee, Mary Kosman, Somin Jun,
and Jipyong LLC hereby withdraw their appearance as counsel for Hyundai L&C Corporation
(“Hyundai L&C”) in the above-captioned case.

            PLEASE TAKE FURTHER NOTICE that Jinhee Kim, Yong Ik Lee, Mary Kosman,
Somin Jun, and Jipyong LLC hereby request they be removed as counsel for Hyundai L&C
from all mailing and electronic case filing notice lists in the above-captioned case.




Dated: May 18, 2023                                          JIPYONG LLC

                                                             By:
                                                                     Jinhee Kim (CA Bar No. 238928)
                                                                     Yong Ik Lee (NY Bar Reg. No.
                                                                     5718143)
                                                                     Mary Kosman (MD Bar
                                                                     No.1312180108)
                                                                     Somin Jun (IL Bar No. 6329889)
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1
 The Debtors in these Chapter 7 cases, along with the last four digits of their respective tax identification
numbers, are as follows: Armstrong Flooring, Inc. (3305); AFI Licensing LLC (3265); Armstrong Flooring
Latin America, Inc. (2943); and Armstrong Flooring Canada Ltd. (N/A). The address of the Debtors’ corporate
headquarters is PO Box 10068, 1770 Hempstead Road, Lancaster, PA 17065.
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